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                       IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF NEVADA
                                       LAS VEGAS DIVISION


IN RE:                                             §
                                                   §
LANCE REED ATCHISON                                §       CASE NO. 09-31139-LBR-13
CHERYL LOUISE ATCHISON                             §       CHAPTER 13
                                                   §
                                                   §       JUDGE LINDA B. RIEGLE

                              REQUEST FOR SERVICE OF NOTICE


       TO THE DEBTOR(S), TRUSTEE, ALL CREDITORS AND ALL OTHER INTERESTED PARTIES:
       You are hereby given notice that Brice, Vander Linden & Wernick, P.C. has been engaged by the
creditor identified below to serve as its authorized agent in this matter.
       You are requested to serve a copy of each notice of any proceeding, hearing and/or report in this matter
including, but not limited to, notices required by Bankruptcy Rules 2002 and 3017(a) and the Local Rules of the
Bankrupcy Court upon the creditor at the following address:


                  HSBC Mortgage Services, Inc.
                  636 Grand Regency Blvd
                  Brandon, Florida 33510


                                                   Respectfully submitted,
                                                   Brice, Vander Linden & Wernick, P.C.


                                                   /s/ Hilary B. Bonial

                                                   Hilary B. Bonial

                                                   F# 7675-N-4836
                                                   9441 LBJ Freeway, Suite 350
                                                   Dallas, Texas 75243
                                                   (972) 643-6600 / (972) 643-6698 (Telecopier)
                                                   E-mail Address: notice@bkcylaw.com
                                                   Authorized Agent for HSBC Mortgage Services, Inc.
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                                              CERTIFICATE OF SERVICE

       I, Hilary B. Bonial, hereby certify that a true and correct copy of the foregoing Request for Service
of Notice has been served upon the following parties in interest either via pre-paid regular U.S. Mail or via electronic
notification on or before March 26, 2010:


Debtors' Attorney
Philip K Goldstein
Attorney At Law
609 S 7TH ST
LAS VEGAS, NV 89101


Chapter 13 Trustee
Kathleen A. Leavitt
201 Las Vegas Blvd., So. #200
Las Vegas, Nevada 89101


U.S. Trustee
OFFICE OF THE US TRUSTEE
300 Las Vegas Boulevard South, Suite 4300
Las Vegas, Nevada 89101




                                                           /s/ Hilary B. Bonial

                                                           Hilary B. Bonial




7675-N-4836
noaelect
